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                         IN THE UNITED STATES DISTRICT COURT

                          FOR THE EASTERN DISTRICT OF TEXAS

                                       TYLER DIVISION



ROBERT RICHARDSON                               §

v.                                              §                 CIVIL ACTION NO. 6:11cv54

THOMAS MICHAEL REID, et al.                     §



                                      FINAL JUDGMENT


       The above-entitled action has come before the Court for consideration, and a Stipulation of

Dismissal having been filed, it is hereby

       ORDERED and ADJUDGED that the above-entitled action be DISMISSED with

prejudice, each party bearing its own costs.

        So ORDERED and SIGNED this 11 day of November, 2011.



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                                                    JUDITH K. GUTHRIE
                                                    UNITED STATES MAGISTRATE JUDGE
